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[ADDITIONAL COUNSEL LISTED
ON SIGNATURE PAGE]

UNITED STATES DISTRICT COURT

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NORTHERN DISTRICT OF CALIFORNIA

SAN FRANCISCO DIVISION

IN RE: CATHODE RAY TUBE (CRT) Master File No. 3:07-cv-5944-JST
ANTITRUST LITIGATION
MDL No. 1917
NOTICE OF APPEAL
This Document Relates to:
All Indirect-Purchaser Actions
NOTICE OFAPPEAL

Case No, 3:07-cv-5944, MDL No, 1917

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NOTICE OF APPEAL

Notice is hereby given that Anthony Gianasca, the Estate of Barbara Caldwell, George
Maglaras, Carolyn Jorgensen Warren Cutlip, and others appeal to the United States Court of
Appeals for the Ninth Circuit from (1) the Order Denying Renewed Motions to Intervene, which
was entered on February 4, 2020 (Dkt. 5684); (2) the Order Denying [the Appellants’ Rule 59]
Motion to Alter or Amend the Court’s [February 4, 2020] Order, which was entered on April 9,
2020 (Dkt. 5708); (3) the Order Granting Motion for Preliminary Approval, which was entered on
March 11, 2020 (Dkt. 5695); (4) the Order Denying Motion to Intervene and Amend Complaint to
Allege State Law Claims for the Other Repealer States, which was entered on October 17, 2019
(Dkt. 5628); (5) the Order Rejecting the ORS Errata and Refusing to Entertain Any Motion to
Vacate Prior Settlement, which was entered on October 18, 2019 (Dkt. 5632); (6) the failure to
perform the mandate on remand of the United States Court of Appeals for the Ninth Circuit, filed
on March 7, 2019 (Dkt. 253, Case 16-16373), directing the district court to review, following
briefing and oral argument, the adequacy and including possible conflicts of interests of Lead
Counsel Mario Alioto and other class counsel as the evidence may establish; and (7) all orders that
merge with any of the preceding orders appealed. The orders and the mandate are attached hereto
respectively as Exhibit A, B, C, D, E and F.

This appeal is authorized because the appellate court has “jurisdiction over the denial of a
motion to intervene as of right as a final appealable order under 28 U.S.C. § 1291.” Citizens for
Balanced Use v. Montana Wilderness Ass‘n, 647 F.3d 893, 896 (9th Cir. 2011). Moreover, “[b]y
appealing the final judgment, [appellants] implicitly [bring] all of the district court's subordinate
orders within the jurisdiction of [the appellate] court.” Hall v. City of Los Angeles, 697 F.3d 1059,
1070 (9th Cir. 2012).

This appeal should be assigned to the same panel that previously decided Jn re Cathode
Ray Tube (CRT) Antitrust Litig., Case No. 16-16368 consolidated with, inter alia, Appeal Numbers
16-373, 16-399 and 16-16400. In its order remanding the proceeding to the district court in that
earlier appeal, the Court ordered that “[{t]he current panel will retain responsibility for future

appeals in this case.” See In re Cathode Ray Tube (CRT) Antitrust Litig., 753 Fed. Appx. 438, 442

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NOTICE OF APPEAL
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(9th Cir. 2019) (Case No. 16-16368, Dkt. 238 at 12}. Because this appeal arises from the same
case as Appeal Number 16-16368 and the underlying consolidated cases, it should be assigned to
the panel assigned to that proceeding.

The representation statement required under Federal Rule of Appellate Procedure 12(b)

and Ninth Circuit Rule 3-2 is attached as Exhibit G.

Dated: May 7, 2020 Respectfully submitted,

/s/ Robert J. Bonsignore
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CERTIFICATE OF SERVICE

I hereby certify that a true copy of the foregoing was filed via CM/ECF on May 7, 2020
and as a result has been served on all counsel of record via transmission of Notices of Electronic

Filing generated by CM/ECF.

/s/ Robert J. Bonsignore
Robert J. Bonsignore

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